Case
 Case2:18-cv-06338-PSG-GJS
      2:18-cv-06338-PSG-GJS Document
                             Document44-2
                                      41 Filed
                                          Filed08/20/19
                                                08/20/19 Page
                                                          Page11ofof99 Page
                                                                        PageID
                                                                             ID#:352
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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA                                      #27/31

                                       CIVIL MINUTES - GENERAL
 Case No.       CV 18-6338 PSG (GJSx)                                        Date   August 20, 2019
 Title          Arroyo v. A&G Interprises, LLC, et al.




 Present: The Honorable        Philip S. Gutierrez, United States District Judge
                   Wendy Hernandez                                          Not Reported
                      Deputy Clerk                                         Court Reporter
            Attorneys Present for Plaintiff(s):                  Attorneys Present for Defendant(s):
                       Not Present                                           Not Present
 Proceedings (In Chambers):           Order DISMISSING the claims against Defendant A&G
                                      Interprises, GRANTING summary judgment as to Plaintiff’s
                                      ADA claim against Defendant Rosas, and DECLINING
                                      supplemental jurisdiction over Plaintiff’s state law claim.

        Before the Court is Plaintiff Rafael Arroyo, Jr.’s (“Arroyo”) motion for summary
judgment against Defendants A&G Interprises (“A&G”) and Carmen Rosas (“Rosas”). See Dkt.
# 27 (“Mot.”). Neither Defendant opposed this motion. The Court finds the matter appropriate
for decision without oral argument. See Fed. R. Civ. P. 78; L.R. 7-15. Having considered the
arguments in the Plaintiff’s motion and the Plaintiff’s response to the Court’s July 23, 2018
Order to Show Cause, see Dkts. # 38 (“OSC”), # 40 (“OSC Response”), the Court DISMISSES
the claims against Defendant A&G, GRANTS Plaintiff’s motion for summary judgement
against Defendant Rosas as to his claim under the Americans with Disabilities Act (“ADA”),
and DECLINES to exercise supplemental jurisdiction over the remaining state law claim.

I.       Background

        This is an ADA case. Plaintiff is a paraplegic who uses a wheelchair for mobility because
he cannot walk. Statement of Undisputed Facts, Dkt. # 31-2 (“SUF”), ¶ 1. In June 2018,
Plaintiff went to Gardena Main Plaza Liquor (“Store”), located at or about 16502 S. Main Street,
Gardena. Id. ¶ 4. Defendant Rosas owns and operates the Store. Id. ¶ 5. Plaintiff alleges that
the Store denied him full and equal access because its parking lot was not ADA-compliant, its
transaction counter was too high for him to use, and its aisles are too narrow. See id. ¶¶ 8, 11,
20. Specifically, Plaintiff states that although the Store had a parking space designated for
persons with disabilities, the slopes of the handicapped spaces are not level, and the access aisles
are sloped. Id. ¶ 9. Further, the Store lacked a transaction counter lower than 55 inches for



CV-90 (10/08)                                CIVIL MINUTES - GENERAL                                   Page 1 of 9
Case
 Case2:18-cv-06338-PSG-GJS
      2:18-cv-06338-PSG-GJS Document
                             Document44-2
                                      41 Filed
                                          Filed08/20/19
                                                08/20/19 Page
                                                          Page22ofof99 Page
                                                                        PageID
                                                                             ID#:353
                                                                                #:369

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.       CV 18-6338 PSG (GJSx)                                 Date   August 20, 2019
 Title          Arroyo v. A&G Interprises, LLC, et al.

Plaintiff to use. Id. ¶ 12. Finally, in some places, the Store had aisles that were as narrow as 12
inches wide. Id. ¶ 20.

        In July 2018, Plaintiff filed a complaint in this Court against Defendants, requesting
injunctive relief under Title III of the ADA, 42 U.S.C. §§ 12101 et seq., and injunctive relief and
monetary damages under California’s Unruh Civil Rights Act (“Unruh Act”), Cal. Civ. Code
§§ 51–53. See generally Complaint, Dkt. # 1 (“Compl.”). In addition to Defendant Rosas,
Plaintiff sued Defendant A&G, who Plaintiff believed owned the land that the Store sits on. See
id. ¶ 2. Plaintiff has yet to serve Defendant A&G. See OSC Response ¶ 3. On August 6, 2019,
the Court issued an order to show cause as to why it should not dismiss A&G for lack of service.
See generally OSC. On August 9, 2019, Plaintiff responded that since commencing the lawsuit,
it has learned that A&G sold the property. See OSC Response ¶ 5.

       Plaintiff now moves for summary judgment against both Defendants. See generally Mot.
The Court denied Defendant Rosas’s request to extend the filing deadline for her opposition
brief. See Order re: Request for Extension, Dkt. # 35 (“Extension Request Order”). Neither
Defendant Rosas nor Defendant A&G filed an opposition brief.

II.      Legal Standard

        “A party may move for summary judgment, identifying each claim or defense—or the
part of each claim or defense—on which summary judgment is sought. The court shall grant
summary judgment if the movant shows that there is no genuine dispute as to any material fact
and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a).

       A party seeking summary judgment bears the initial burden of informing the court of the
basis for its motion and identifying those portions of the pleadings and discovery responses that
demonstrate the absence of a genuine issue of material fact. See Celotex Corp. v. Catrett, 477
U.S. 317, 323 (1986). If the nonmoving party will have the burden of proof at trial, the movant
can prevail by pointing out that there is an absence of evidence to support the moving party’s
case. See id. If the moving party meets its initial burden, the nonmoving party must set forth, by
affidavit or as otherwise provided in Rule 56, “specific facts showing that there is a genuine
issue for trial.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

       In judging evidence at the summary judgment stage, the court does not make credibility
determinations or weigh conflicting evidence. Rather, it draws all reasonable inferences in the
light most favorable to the nonmoving party. See T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors


CV-90 (10/08)                              CIVIL MINUTES - GENERAL                             Page 2 of 9
Case
 Case2:18-cv-06338-PSG-GJS
      2:18-cv-06338-PSG-GJS Document
                             Document44-2
                                      41 Filed
                                          Filed08/20/19
                                                08/20/19 Page
                                                          Page33ofof99 Page
                                                                        PageID
                                                                             ID#:354
                                                                                #:370

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.       CV 18-6338 PSG (GJSx)                                Date   August 20, 2019
 Title          Arroyo v. A&G Interprises, LLC, et al.

Ass’n, 809 F.2d 626, 630–31 (9th Cir. 1987). The evidence presented by the parties must be
capable of being presented at trial in a form that would be admissible in evidence. See Fed. R.
Civ. P. 56(c)(2). Conclusory, speculative testimony in affidavits and moving papers is
insufficient to raise genuine issues of fact and defeat summary judgment. See Thornhill Publ’g
Co. v. Gen. Tel. & Elecs. Corp., 594 F.2d 730, 738 (9th Cir. 1979).

III.     Discussion

       Here, Plaintiff brings two causes of action: a claim for injunctive relief under the ADA
and a claim for damages under the Unruh Act. Plaintiff moves for summary judgment on the
ADA claim, arguing that Defendants violated the ADA because Plaintiff is disabled, Defendants
operate a place of public accommodation, the Store had readily removable barriers, and Plaintiff
encountered the violations, which prevent him from patronizing the Store. See Mot. 5:26–10:13.
Next, Plaintiff asserts that he is entitled to summary judgment on the Unruh Act claim because
an Unruh Act claim is “coextensive with the ADA.” See id. 11:18 (quoting Molski v. M.J.
Cable, Inc., 481 F.3d 724, 731 (9th Cir. 2007)). The Court addresses each issue in turn.

         A.      Failure to Serve Defendant A&G

       A complaint may be dismissed for insufficient service of process under Federal Rule of
Civil Procedure 12(b)(5). See, e.g., Universal Surface Tech., Inc. v. Sae-A Trading Am. Corp.,
No. CV 10-6972 CAS (PJWx), 2011 WL 281020, at *1 (C.D. Cal. Jan. 26, 2011). “A federal
court does not have jurisdiction over a defendant unless the defendant has been served properly
under” the Federal Rules. Direct Mail Specialists, Inc. v. Eclat Computerized Techs., Inc., 840
F.2d 685, 688 (9th Cir. 1988); see also In re Focus Media Inc., 387 F.3d 1077, 1081 (9th Cir.
2004) (quoting Omni Capital Int’l, Ltd. v. Rudolf Wolff & Co., 484 U.S. 97, 104 (1987) (“Before
a federal court may exercise personal jurisdiction over a defendant, the procedural requirement
of service of summons must be satisfied.”)). Under Federal Rule of Civil Procedure 4(m), a
court must dismiss a complaint against a defendant if the defendant is not served within ninety
days of when the complaint is filed, unless the plaintiff shows “good cause for the failure.”

        Here, the Court dismisses A&G from the case because Plaintiff has failed to serve A&G
for more than a year and A&G no longer owns the property. First, Plaintiff has not served A&G
for almost thirteen months, far exceeding Rule 4(m)’s ninety-day requirement. Fed. R. Civ. P.
4(m). Although Plaintiff states that he seeks to serve A&G through the California Secretary of
State, he fails to show good cause as to why he has still not served A&G. See OSC Response
¶¶ 3–5. Second, Plaintiff admits that A&G no longer owns the property, making any ADA claim


CV-90 (10/08)                              CIVIL MINUTES - GENERAL                            Page 3 of 9
Case
 Case2:18-cv-06338-PSG-GJS
      2:18-cv-06338-PSG-GJS Document
                             Document44-2
                                      41 Filed
                                          Filed08/20/19
                                                08/20/19 Page
                                                          Page44ofof99 Page
                                                                        PageID
                                                                             ID#:355
                                                                                #:371

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.       CV 18-6338 PSG (GJSx)                                 Date   August 20, 2019
 Title          Arroyo v. A&G Interprises, LLC, et al.

against A&G moot. See id. Therefore, because Plaintiff failed to timely serve A&G and his
ADA claim against A&G is moot, A&G is dismissed.

       In addition, Plaintiff states that once he finds the current property owner, he intends to
amend his complaint to include them, but the time to amend the complaint has long since passed.
See id. ¶ 7. In its Scheduling Order, the Court apprised Plaintiff that the last day to add parties
and amend pleadings was March 4, 2019, more than five months ago. Order Vacating
Scheduling Conference, Dkt. # 20 (“Scheduling Order”). Moreover, as stated above, Plaintiff
has gone thirteen months without serving the correct property owner, far more than Rule 4(m)’s
ninety-day limit. Fed. R. Civ. P. 4(m). With trial looming almost one month from now, it is
simply too late for Plaintiff to serve the correct property owner and expect that defendant to
adequately prepare.

     Accordingly, because Plaintiff failed to timely serve Defendant A&G and Defendant
A&G no longer owns the property, the Court DISMISSES Defendant A&G without prejudice.

         B.      The ADA Claim

       Plaintiff claims that Defendant Rosas violated Title III of the ADA. See Mot. 1:8–9. To
prevail on a Title III claim, the Plaintiff must demonstrate that he has standing and that he can
prevail on the merits of his claim. The Court assesses each issue in turn.

                 i.     Standing

       “A suit brought by a plaintiff without Article III standing is not a ‘case or controversy,’
and an Article III federal court therefore lacks subject matter jurisdiction over the suit.” City of
Oakland v. Lynch, 798 F.3d 1159, 1163 (9th Cir. 2015) (Cetacean Cty. v. Bush, 386 F.3d 1169,
1174 (9th Cir. 2004)). To establish Article III standing, a plaintiff must show an injury-in-fact,
causation, and redressability. See Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992). “[A]
disabled individual claiming discrimination must satisfy the case or controversy requirement of
Article III by demonstrating his standing to sue at each stage of the litigation.” Chapman v. Pier
1 Imports (U.S.) Inc., 631 F.3d 939, 946 (9th Cir. 2011) (en banc). In ADA cases, the standing
inquiry turns on whether an ADA plaintiff “has suffered an injury-in-fact and whether he has
demonstrated a likelihood of future injury sufficient to support injunctive relief.” Id.

       Here, Plaintiff has standing because he sought to visit the Store and intends to do so in the
future. Plaintiff suffered an injury-in-fact when he visited the Store in July 2018 and could not


CV-90 (10/08)                              CIVIL MINUTES - GENERAL                             Page 4 of 9
Case
 Case2:18-cv-06338-PSG-GJS
      2:18-cv-06338-PSG-GJS Document
                             Document44-2
                                      41 Filed
                                          Filed08/20/19
                                                08/20/19 Page
                                                          Page55ofof99 Page
                                                                        PageID
                                                                             ID#:356
                                                                                #:372

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.       CV 18-6338 PSG (GJSx)                                 Date    August 20, 2019
 Title          Arroyo v. A&G Interprises, LLC, et al.

access it due to the parking, transaction counter, and aisle barriers. SUF ¶¶ 7–12, 20. Further,
Plaintiff demonstrates a likelihood of future injury because once Defendant Rosas removes the
barriers, he “plans to visit the Store regularly, whenever the need arises.” Id. ¶ 24. Therefore,
given that Plaintiff suffered an injury upon visiting the Store and that the barriers deter him from
currently patronizing it, he has standing to bring his claim.

                 ii.    Merits of the ADA Claim

        Title III provides that “[n]o individual shall be discriminated against on the basis of
disability in the full and equal enjoyment of the goods, services, facilities, privileges,
advantages, or accommodations of any place of public accommodation by any person who owns,
leases (or leases to), or operates a place of public accommodation.” 42 U.S.C. § 12181(a). The
statute includes “a failure to remove architectural barriers . . . in existing facilities . . . where
such removal is readily achievable” as a form of actionable discrimination. Id.
§ 12181(b)(2)(A)(iv).

       “To prevail on a Title III discrimination claim, the plaintiff must show that (1) she is
disabled within the meaning of the ADA; (2) the defendant is a private entity that owns, leases,
or operates a place of public accommodation; and (3) the plaintiff was denied public
accommodations by the defendant because of her disability.” See Molski, 481 F.3d at 730. “In
addition, ‘[t]o succeed on an ADA claim of discrimination on account of one’s disability due to
an architectural barrier, the plaintiff must also prove that: (1) the existing facility at the
defendant’s place of business [or property] presents an architectural barrier prohibited under the
ADA and (2) the removal of the barrier is readily achievable.’” Vogel v. Rite Aid Corp., 992 F.
Supp. 2d 998, 1008 (C.D. Cal. 2014) (quoting Parr v. L & L Drive–Inn Rest., 96 F. Supp. 2d
1065, 1085 (D. Haw. 2000)); accord McComb v. Vejar, No. 2:14-CV-00941-RSWL-E, 2014
WL 5494017, at *6 (C.D. Cal. Oct. 28, 2014). Individuals suing under Title III are only entitled
to injunctive relief. See Pickern v. Holiday Quality Foods Inc., 293 F.3d 1133, 1136 (9th Cir.
2002).

        Here, Plaintiff presents enough undisputed facts to prevail on his ADA claim. Under the
first requirement, Plaintiff is a paraplegic who cannot walk and uses a wheelchair for mobility.
SUF ¶ 1; 42 U.S.C. § 12102(2)(A). Second, Defendant Rosas owns the Store, which is a “sales
establishment” under the statute and thus a place of public accommodation. See SUF ¶¶ 5–6; 42
U.S.C. § 12181(7)(E). Next, the barriers, including the uneven parking access aisle with high
slopes, the 55-inch transaction counter, and the paths of travel in the Store that measured
between 12 and 30 inches, created “architectural barriers” under the statute. See SUF ¶¶ 8–10,


CV-90 (10/08)                              CIVIL MINUTES - GENERAL                              Page 5 of 9
Case
 Case2:18-cv-06338-PSG-GJS
      2:18-cv-06338-PSG-GJS Document
                             Document44-2
                                      41 Filed
                                          Filed08/20/19
                                                08/20/19 Page
                                                          Page66ofof99 Page
                                                                        PageID
                                                                             ID#:357
                                                                                #:373

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.       CV 18-6338 PSG (GJSx)                                    Date   August 20, 2019
 Title          Arroyo v. A&G Interprises, LLC, et al.

15–20; Chapman, 631 F.3d at 945. Finally, Defendant Rosas can readily remove these types of
barriers. See 28 C.F.R. § 36.304(b) (listing installing ramps, repositioning shelves, rearranging
display racks, and creating designated accessible parking spaces as readily achievable under
ADA Title III).

      Accordingly, because Plaintiff has standing to bring an ADA claim and has alleged
enough undisputed facts to demonstrate an ADA violation, the Court GRANTS Plaintiff’s
motion for summary judgment with respect to Defendant Rosas.

         C.      The State Law Claim and Supplemental Jurisdiction

       In an action over which a district court possesses original jurisdiction, it has
“supplemental jurisdiction over all claims that are so related to claims in the action within such
original jurisdiction that they form part of the same case or controversy under Article III of the
United States Constitution.” 28 U.S.C. § 1367(a). However, a district court has the discretion to
decline to exercise supplemental jurisdiction if:

                 i.     the claim raises a novel or complex issue of State law,

                 ii.    the claim substantially predominates over the claim or claims over which
                        the district court has original jurisdiction,

                 iii.   the district court has dismissed all claims over which it has original
                        jurisdiction, or

                 iv.    in exceptional circumstances, there are other compelling reasons for
                        declining jurisdiction.

Id. § 1367(c). The Supreme Court has explained that justification for supplemental jurisdiction
“lies in considerations of judicial economy, convenience and fairness to litigants[.]” United
Mine Workers v. Gibbs, 383 U.S. 715, 726 (1966).

       The Ninth Circuit does not require an “explanation for a district court’s reasons [for
declining supplemental jurisdiction] when the district court acts under any of the first three
provisions” of 28 U.S.C. § 1367(c). San Pedro Hotel Co. v. City of Los Angeles, 159 F.3d 470,
478 (9th Cir. 1998). However, when the district court declines supplemental jurisdiction under
the fourth “exceptional circumstances” provision, it must “articulate why the circumstances of


CV-90 (10/08)                              CIVIL MINUTES - GENERAL                                Page 6 of 9
Case
 Case2:18-cv-06338-PSG-GJS
      2:18-cv-06338-PSG-GJS Document
                             Document44-2
                                      41 Filed
                                          Filed08/20/19
                                                08/20/19 Page
                                                          Page77ofof99 Page
                                                                        PageID
                                                                             ID#:358
                                                                                #:374

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.       CV 18-6338 PSG (GJSx)                                 Date   August 20, 2019
 Title          Arroyo v. A&G Interprises, LLC, et al.

the case are exceptional in addition to inquiring whether the balance of the Gibbs values provide
compelling reasons for declining jurisdiction in such circumstances.” Exec. Software N. Am.
Inc. v. U.S. Dist. Court for the Cent. Dist. of Cal., 24 F.3d 1545, 1558 (9th Cir. 1994), overruled
on other grounds by Cal. Dep’t of Water Res. v. Powerex Corp., 533 F.3d 1087, 1091 (9th Cir.
2008). According to the Ninth Circuit, this “inquiry is not particularly burdensome.” Id.

        Here, the Court declines to exercise supplemental jurisdiction given California’s interest
in discouraging unverified disability discrimination claims, as the state’s recent legislation
reflects. See Velez v. Il Fornaio (Am.) Corp., No. CV 3:18-1840 CAB (MDD), 2018 WL
6446169, at *6 (S.D. Cal. Dec. 10, 2018).

       “In 2012, in an attempt to deter baseless claims and vexatious litigation, California
adopted heightened pleading requirements for disability discrimination lawsuits under the Unruh
Act.” Id. These heightened pleading requirements apply to actions alleging a “construction-
related accessibility claim,” which California law defines as “any civil claim in a civil action
with respect to a place of public accommodation, including but not limited to, a claim brought
under Section 51, 54, 54.1, or 55, based wholly or in part on an alleged violation of any
construction-related accessibility standard.” Cal. Civ. Code § 55.52(a)(1). Under these
requirements, the plaintiff must include in the complaint specific facts concerning the plaintiff’s
claim, including the specific barriers encountered or how the plaintiff was deterred and each date
on which the plaintiff encountered each barrier or was deterred. See Cal. Civ. Proc. Code
§ 425.50(a). California law also requires the plaintiff to verify the complaint; a complaint that is
not verified is subject to a motion to strike. Id. § 425.50(b)(1).

        When California continued to experience large numbers of these actions, the state
legislature imposed additional limitations on “high-frequency litigants.” A “high-frequency
litigant” is defined as:

         A plaintiff who has filed 10 or more complaints alleged a construction-related
         accessibility violation within the 12-month period immediately preceding the filing
         of the current complaint alleging a construction-related accessibility violation.

Id. § 425.55(b)(1). The definition of a high-frequency litigant also extends to attorneys. Id.
§ 425.55(b)(2).

       Here, Plaintiff had filed at least thirty-eight ADA complaints within the twelve-month
period immediately preceding his filing of the current complaint on July 23, 2018. In addition,


CV-90 (10/08)                              CIVIL MINUTES - GENERAL                             Page 7 of 9
Case
 Case2:18-cv-06338-PSG-GJS
      2:18-cv-06338-PSG-GJS Document
                             Document44-2
                                      41 Filed
                                          Filed08/20/19
                                                08/20/19 Page
                                                          Page88ofof99 Page
                                                                        PageID
                                                                             ID#:359
                                                                                #:375

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.       CV 18-6338 PSG (GJSx)                                   Date    August 20, 2019
 Title          Arroyo v. A&G Interprises, LLC, et al.

each of Plaintiff’s attorneys-of-record have filed hundreds, if not thousands, of ADA cases
within the twelve-month period preceding the filing of this complaint. Therefore, the Court
finds that Plaintiff and his counsel comfortably fit within the definition of a “high-frequency
litigant.”

        In support of its imposition of additional limitations on high-frequency litigants, the
California Legislature observed that “a very small number of plaintiffs have filed a
disproportionately large number of the construction-related accessibility claims in the state” and
that “these lawsuits are frequently filed against small businesses on the basis of boilerplate
complaints, apparently seeking quick cash settlements rather than correction of the accessibility
violation.” Id. § 425.55(a)(2). In order to address these “special and unique circumstances,” id.
§ 425.55(a)(3), California imposed a “high-frequency litigant fee,” requiring high-frequency
litigants to pay a $1,000 filing fee to file a complaint, in addition to the standard filing fees, Cal.
Gov’t Code § 70616.5. California also requires complaints that high-frequency litigants file to
allege certain additional facts, including whether the action is filed by, or on behalf of, a high-
frequency litigant, the number of construction-related accessibility claims that the high-
frequency litigant has filed in the preceding twelve months, the high-frequency litigant’s reason
for being in the geographic area of the defendant’s business, and the reason why the high-
frequency litigant plaintiff desired to access the defendant’s business. See Cal. Civ. Proc. Code
§ 425.50(a)(4)(A).

        Because California’s heightened pleading standards and increased filing fees do not apply
in federal court, plaintiffs can circumvent these restrictions simply by relying on § 1367(a)’s
grant of supplemental jurisdiction to file their Unruh Act claims in federal court when combined
with an ADA claim for injunctive relief. The number of construction-related accessibility claims
filed in the Central District has skyrocketed both numerically and as a percentage of total civil
filings since California began its efforts to curtail the filing of such actions in its state courts.
According to statistics compiled by the Clerk’s Office, in 2013, the first year in which
California’s initial limitations on such cases were in effect, there were 419 ADA cases filed in
the Central District, constituting 3 percent of the civil actions filed. Filings of ADA cases
increased from 928 (7 percent of civil cases) in 2014, the year before the imposition of the extra
$1,000 filing fee and additional pleading requirements for high-frequency litigants, to 1,386 (10
percent of civil cases) in 2016, the first full year of those requirements. The number and
percentage of such cases filed in the Central District have increased each year since California
enacted the limitations on high-frequency litigants, reaching 1,670 (12 percent of civil cases) in
2017, 2,720 (18 percent of civil cases) in 2018, and 1,868 cases (24 percent of civil cases) in the
first six months of 2019.


CV-90 (10/08)                              CIVIL MINUTES - GENERAL                                Page 8 of 9
Case
 Case2:18-cv-06338-PSG-GJS
      2:18-cv-06338-PSG-GJS Document
                             Document44-2
                                      41 Filed
                                          Filed08/20/19
                                                08/20/19 Page
                                                          Page99ofof99 Page
                                                                        PageID
                                                                             ID#:360
                                                                                #:376

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.       CV 18-6338 PSG (GJSx)                                Date   August 20, 2019
 Title          Arroyo v. A&G Interprises, LLC, et al.

        By enacting restrictions on the filing of construction-related accessibility claims,
California has expressed a desire to limit the financial burdens California’s businesses may face
for claims for statutory damages under the Unruh Act. By filing in federal court, Plaintiff has
evaded these limits and sought a forum in which he can claim these state law damages in a
manner inconsistent with the state law’s requirements. This situation, and the burden the ever-
increasing number of such cases poses to the federal courts, present “exceptional circumstances”
and “compelling reasons” that justify exercising the Court’s discretion to decline supplemental
jurisdiction over plaintiff’s Unruh Act claim in this action under 28 U.S.C. § 1367(c)(4).

        Consideration of the Gibbs factors—values of judicial economy, convenience, fairness,
and comity—also supports declining to exercise supplemental jurisdiction over Plaintiff’s Unruh
Act claim under these circumstances. Given Plaintiff’s attempt to use federal court as an “end-
around” California’s requirements, considerations of comity weigh in favor of declining
supplemental jurisdiction. Although the Court recognizes that it would be more convenient and
efficient for the ADA claim and the state law claim based on the same ADA violations to be
litigated in one suit, in the Court’s view, these issues are not so dire to overcome “California’s
strong interest in interpreting and enforcing its own rules without federal courts serving as a
convenient end-around for creative litigants.” See Schutza v. Alessio Leasing, Inc. (Alessio
Leasing), No. CV 18-2154 LAB (AGS), 2019 WL 1546950, at *4 (S.D. Cal. Apr. 8, 2019).
Finally, the Court’s decision not to countenance Plaintiff’s attempt to circumvent the aims of the
California Legislature hardly appears unfair to Plaintiff.

       In conclusion, the Court finds that under these “exceptional circumstances,” there are
“compelling reasons” to warrant declining supplemental jurisdiction over Plaintiff’s state law
claim. As such, the Court DECLINES to exercise supplemental jurisdiction over Plaintiff’s
Unruh Civil Rights Act claim.

IV.      Conclusion

       For the foregoing reasons, the Court DISMISSES Defendant A&G Interprises without
prejudice, GRANTS summary judgment as to Plaintiff’s ADA claim against Defendant Rosas,
and DECLINES supplemental jurisdiction over Plaintiff’s state law claim. Plaintiff must
submit a judgment to the Court consistent with this order by August 30, 2019.

         IT IS SO ORDERED.




CV-90 (10/08)                              CIVIL MINUTES - GENERAL                            Page 9 of 9
